Case 18-80075-hb           Doc 79    Filed 05/04/20 Entered 05/04/20 11:52:09                   Desc Main
                                     Document      Page 1 of 2



                            UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF SOUTH CAROLINA

     In re,
                                                                    C/A No. 18-04406-HB
     George Robert Walker and Sherry Denise
     Walker,                                                     Adv. Pro. No. 18-80075-HB


     Debtor(s).
                                                                           Chapter 13
     George Robert Walker and Sherry Denise
     Walker,                                                                ORDER


     Plaintiff(s),

     v.

     UpRight Law, Law Solutions Chicago, LLC,
     Law Solutions Chicago LLC,


     Defendant(s).

              THIS MATTER came before the Court initially for a trial on the Complaint filed by

 Plaintiffs George Robert Walker and Sherry Denise Walker against Defendants UpRight Law,

 Law Solutions Chicago, LLC, Law Solutions Chicago LLC (collectively, “Upright”).1 The

 only remaining issue at trial was whether sanctions should be imposed pursuant to 11 U.S.C.

 § 105. The Court denied the Walkers’ request for an award of monetary sanctions against

 Upright in a February 20, 2020 Order (“Trial Order”).2

              The Trial Order also detailed Upright’s nontraditional business model in which it

 maintains an out-of-state home office in Chicago and directs marketing efforts toward

 residents of South Carolina utilizing South Carolina bar members. In the Trial Order, the


 1
   After this adversary proceeding was filed, Upright changed ownership and is now Deighan Law, LLC d/b/a
 UpRight Law LLC in South Carolina.
 2
   ECF No. 76.
Case 18-80075-hb           Doc 79        Filed 05/04/20 Entered 05/04/20 11:52:09                       Desc Main
                                         Document      Page 2 of 2



 Court made conclusions regarding Upright’s practices and procedures and raised questions

 regarding compatibility with certain authorities, including the South Carolina Rules of

 Professional Conduct. Upright filed a Response on April 10, 2020 (“Upright Response”).3

          After careful consideration, the Court finds that Upright’s practices, procedures, and

 unconventional practice model, detailed in the Trial Order, relate to innovations in the practice

 of law in South Carolina that are likely not unique to Upright or bankruptcy or federal practice,

 and are better directed to an authority involved in the regulation of the practice of law in this

 state. Therefore, pursuant to Local Civ. Rule 83.I.08 (D.S.C.), RDE Rule V(A),4 the Court

 will refer the conclusions of the Trial Order and the Response directly to the South Carolina

 Office of Disciplinary Counsel to take whatever action, if any, it deems necessary and

 appropriate to regulate practice within the state.

          IT IS, THEREFORE, ORDERED that the Clerk of Court shall submit a copy of

 this Order, the Trial Order, and the Upright Response to the South Carolina Office of

 Disciplinary Counsel to determine any appropriate action.                     This adversary proceeding is

 concluded.
         FILED BY THE COURT
             05/04/2020



                                                              Chief US Bankruptcy Judge
                                                              District of South Carolina


          Entered: 05/04/2020


 3
   ECF No. 78.
 4
   See Local Civ. Rule 83.I.08 (D.S.C.), RDE Rule V(A) (“Nothing herein shall, however, preclude a judge from
 reporting an attorney’s actions or inactions directly to the disciplinary authority for any state where the attorney
 is admitted to practice . . .”).




                                                          2
